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           Case 1:16-cr-00436-KMW Document 190 Filed 03/19/18 Page 1 of 1
                                                         U.S. Department of Justice
              MEMO ENDOR.SEP                             United States Attorney
                                                         Southern District of New York
                                                         The S//vio J Mollo Bwlding
                                                         One Saint Andrew ·s Plaza
                                                         New York, New York 10007

                                                         March 16, 2018

    BY ECF and BY E-MAIL
                                                                   USDSSDNY
    The Honorable Kimba M. Wood                                    DOCUMENT
    United States District Court                                   ELECTRONICALLY FILED
    Southern District of New York
    Daniel Patrick Moynihan U.S. Courthouse                        DOC#: ----...,....---.-
    500 Pearl Street                                               DATE FILED: 3 I Cf 1<::{  I   I
    New York, New York 10007

           Re:     United States v. Steven Brown, 16 Cr. 436 (KMW)

    Dear Judge Wood:

            The Government has conferred with its witnesses, and the Government can now confirm         {--¥'-v-1
    that the new proposed trial date of Monday, April I 6, 2018 does not pose any issues. In light o ~      .. rrfrj)
    the one-week adjournment of the trial date, the Government respectfully requests that its deadline (:/f.N"'-
    to provide exhibits and the witness list to the defendant also be adjourned by one week until March
    26,2018.
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            Furthermore, the Government respectfully requests that the Court exclude time in the
    interest of justice under 18 U.S.C. § 316l(h)(7)(A), from April 9, 2018 until April 16, 2018, in
    order for defense counsel to continue to prepare for trial. Defense counsel consents to the
    exclusion of time. A proposed order is annexed to this letter for the Court's consideration.


                                                          Very truly yours,

                                                          GEOFFREY S. BERMAN
                                                          United States Attorney

                                                  By:     _Is_ _ _ _ _ _ _ _ _ __
                                                          Katherine Reilly
                                                          Noah Solowiejczyk
                                                          Ryan Finkel
                                                                                                                 ,-
                                                          Assistant United States Attorneys
                                                          (212) 637-6521/2473/6612

    cc:     Walter Mack, Esq. (by ECF and by e-mail)
                                                                                        ,-1'1-t'Z
                                                                       SO ORDERED, N.Y., N.Y.
                                                                      ·, ~ ~- Ctl1rll
                                                                           XIMBAM',·WOOD
                                                                                  U.S.D.J.
